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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

 In re:                                            )       Chapter 11
                                                   )       Case No. 21-80092 (JPN)
 TEX-GAS HOLDINGS, LLC                             )
                                                   )
                    Debtor.                        )

  NOTICE OF FIRST AND FINAL APPLICATION OF ANDREWS MYERS, PC FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND FOR
   REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE DEBTOR FOR THE
           PERIOD FROM JUNE 1, 2021, THROUGH APRIL 28, 2022

A HEARING WILL BE CONDUCTED ON THIS MATTER ON JUNE 14, 2022, AT 11:00
AM PREVAILING CENTRAL TIME IN COURTROOM 403, 4TH FLOOR, 515 RUSK
STREET, HOUSTON, TEXAS 77002.

PARTICIPATION OF THIS HEARING WILL BE HELD ON A HYBRID BASIS.
PARTIES MAY APPEAR IN PERSON OR REMOTELY BY AUDIO AND VIDEO
CONNECTION.

AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY.
YOU MAY ACCESS THE FACILITY AT (832) 917-1510. ONCE CONNECTED, YOU
WILL BE ASKED TO ENTER THE CONFERENCE ROOM NUMBER. JUDGE
NORMAN’S CONFERENCE ROOM NUMBER IS 174086. VIDEO COMMUNICATION
WILL BE BY USE OF THE GOTOMEETING PLATFORM. CONNECT VIA THE FREE
GOTOMEETING APPLICATION OR CLICK THE LINK ON JUDGE NORMAN’S
HOME PAGE.

          YOU ARE HEREBY NOTIFIED, that on May 13, 2022, ANDREWS MYERS, P.C.,

("Applicant"), the attorneys for the above-captioned Debtor (“Debtor"), in the above proceeding,

filed their First and Final Fee Application for Allowance of Compensation [Docket No. 138]

("Final Fee Application"). This Final Fee Application has been filed pursuant to 11 U.S.C. §330,

and covers professional services rendered to the Debtor and reimbursement of expenses for the

period JUNE 1, 2021, through APRIL 28, 2022. Applicant alleges that the total reasonable value

of the professional services rendered during the period to be $297,048.50 in fees and $11,833.62

in expenses, which is the aggregate sum of $308,882.12, and has attached to the Final Fee


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Application a complete accounting of the nature of the services rendered, the date on which the

services were performed, the attorneys who performed the services, and the amount of time

actually spent. Applicant requests that the Court authorize payment and reimbursement to

Applicant of the sum of $297,048.50 in fees and $11,833.62 in expenses, which is the aggregate

sum of $308,882.12, plus $1,500.00 for the fees and expenses of preparation of the final fee

application to be paid from any available funds of the Debtor. The foregoing is only a summary of

the Final Fee Application, such application may be examined at the office of the Clerk of the

United States Bankruptcy Court located at 515 Rusk Avenue, Houston, Texas 77002, filed under

case 21-80092, during normal business hours, or a copy will be provided to any party upon written

request to Andrews Myers, P.C., at the address provided below.

                                             Respectfully submitted,

                                             ANDREWS MYERS, PC

                                             /s/ T. Josh Judd
                                             T. Josh Judd
                                             SBN: 24036866
                                             1885 Saint James Place, 15th Floor
                                             Houston, TX 77056
                                             Tel: 713-850-4200
                                             Fax: 713-850-4211
                                             jjudd@andrewsmyers.com
                                             Counsel for the Debtor

                                CERTIFICATE OF SERVICE


        I hereby certify that on May 13, 2022, a true and correct copy of the foregoing Notice of
First and Final Fee Application of Andrews Myers, P.C. was forwarded by email to the parties
listed below by the Court’s ECF notification system, and by U.S. Mail to all creditors as provided
on the Service List below:

Keith Miles Aurzada on behalf of Creditor Lui So Yuk
kaurzada@reedsmith.com,
anixon@reedsmith.com;srhea@reedsmith.com;lrobin@reedsmith.com

Keith Miles Aurzada on behalf of Creditor Sham Wai Bun

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Keith Miles Aurzada on behalf of Defendant Jay L. Krystinik
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anixon@reedsmith.com;srhea@reedsmith.com;lrobin@reedsmith.com

Keith Miles Aurzada on behalf of Defendant Lui So Yuk
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anixon@reedsmith.com;srhea@reedsmith.com;lrobin@reedsmith.com

Keith Miles Aurzada on behalf of Defendant Sham Wai Bun
kaurzada@reedsmith.com,
anixon@reedsmith.com;srhea@reedsmith.com;lrobin@reedsmith.com

Devan Joan Dal Col on behalf of Defendant Jay L. Krystinik
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Devan Joan Dal Col on behalf of Defendant Lui So Yuk
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Devan Joan Dal Col on behalf of Defendant Sham Wai Bun
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John P Dillman on behalf of Creditor Matagorda County
Houston_bankruptcy@publicans.com

Micah Grodin on behalf of Creditor Eversource Capital LP
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T. Josh Judd on behalf of Debtor Tex-Gas Holdings, LLC
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T. Josh Judd on behalf of Plaintiff Tex-Gas Holdings, LLC
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Patrick Andrew Kelly on behalf of Plaintiff Tex-Gas Holdings, LLC
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Jay L Krystinik on behalf of Creditor Lui So Yuk
jkrystinik@reedsmith.com, Anixon@reedsmith.com;SRhea@reedsmith.com

Jay L Krystinik on behalf of Creditor Sham Wai Bun
jkrystinik@reedsmith.com, Anixon@reedsmith.com;SRhea@reedsmith.com

Jay L Krystinik on behalf of Defendant Jay L. Krystinik


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Jay L Krystinik on behalf of Defendant Sham Wai Bun
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Brian Christopher Mitchell on behalf of Creditor Lui So Yuk
bmitchell@reedsmith.com

Brian Christopher Mitchell on behalf of Creditor Sham Wai Bun
bmitchell@reedsmith.com

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Melissa E Valdez on behalf of Creditor Bay City Independent School District
mvaldez@pbfcm.com, osonik@pbfcm.com,mvaldez@ecf.courtdrive.com

Jana Smith Whitworth on behalf of U.S. Trustee US Trustee
jana.whitworth@usdoj.gov

                                            /s/ T. Josh Judd
                                            T. Josh Judd




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                                               SERVICE LIST
                                              Case No. 21-80092
                                     In re: TEX-GAS HOLDINGS, LLC


                                                                           Fortune Insight Limited
          Brian Mitchell
                                             East Breifne, LLC               Sea Meadow House
         Reed Smith LLP
                                           3880 Roundtree Drive      Blackburne Highway, P.O. Box 116
2850 N. Harwood Street, Suite 1500
                                           Prosper, Texas 77078                  Road Town
       Dallas, Texas 75201
                                                                        Tortola, British Virgin Islands

                                                Lui So Yuk
         Sham Wai Bun                                                        Matagorda County
                                            House 3, Marinella
     A2, 339 Tai Hang Road                                           Betty Cook Tax Assessor-Collector
                                             9 Welfare Road
          Happy Valley                                                   1700 7th Street, Room 203
                                               Island South
           Hong Kong                                                    Bay City, Texas 77414-5091
                                               Hong Kong




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